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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                                ROANOKE DIVISION


 JACOB LEON MITCHELL,                              Civil Action No. 7:21-cv-00557
     Plaintiff,
                                                   MEMORANDUM OPINION
 v.
                                                   By: Michael F. Urbanski
 MR. WITT, et al,                                  Chief United States District Judge
      Defendant(s),



        Plaintiff, proceeding pro se, filed a civil rights complaint, pursuant to 42 U.S.C. §1983.

By order entered October 27, 2021, the court directed plaintiff to submit within 20 days from the

date of the order a statement of assets form and an inmate account form, and a certified copy of

plaintiff’s trust fund account statement for the six-month period immediately preceding the filing

of the complaint, obtained from the appropriate prison official of each prison at which plaintiff is

or was confined during that six-month period. Plaintiff was advised that a failure to comply

would result in dismissal of this action without prejudice.

        More than 20 days have elapsed, and plaintiff has failed to comply with the described

conditions. Accordingly, the court dismisses the action without prejudice and strikes the case

from the active docket of the court. Plaintiff may refile the claims in a separate action once

plaintiff is prepared to comply with the noted conditions.

        The Clerk is directed to send a copy of this Memorandum Opinion and accompanying

Order to plaintiff.
                                      December
                      1st day of November, 2021.
        ENTER: This _____        xxxxxxx
                                                                      Michael F. Urbanski
                                                                      Chief U.S. District Judge
                                                                      2021.12.01 17:02:24 -05'00'
                                              __________________________________
                                                    Chief United States District Judge
